    UNITED STATES BANKRUPTCY COURT
    WESTERN DISTRICT OF NEW YORK

    In re:
                                                         Case No. 19-
    The Diocese of Rochester,
                                                         Chapter 11
                          Debtor.


                       WRITTEN ACTION TO SIGN AND FILE PETITION

           The Most Reverend Salvatore R. Matano, Bishop of the Diocese of Rochester (the
    "Diocese"), a religious corporation organized and existing under the New York Religious
    Corporations Law, after consulting with and obtaining the consent of the Diocesan Finance
    Counsil and the College of Consultors to the following resolutions at a meeting of those bodies
    held on September 10, 2019:

                           WHEREAS, along with the Diocesan Finance Counsel and
                   the College of Consultors, I have reviewed and considered the
                   materials and guidance presented by the management, financial and
                   legal advisors and spiritual advisors of the Diocese regarding the
                   assets and liabilities of the Diocese, particularly those liabilities
                   arising or asserted in connection with the New York Child Victims
                   Act, the impact of such liabilities on the continuation of the mission
                   of the Diocese, and the strategic alternatives available to the
                   Diocese; and

                          WHEREAS, along with the Diocesan Finance Counsel and
                   the College of Consultors, I have had the opportunity to ask
                   questions of the management and the financial and legal advisors of
                   the Diocese regarding the strategic alternatives available to the
                   Diocese;

                           NOW,THEREFORE,BE IT RESOLVED, that in order
                  to respond to claims stemming from the Child Victims Act in an
                  equitable and comprehensive manner, and to reorganize the
                  financial affairs of the Diocese in order to permit it to continue to
                  fulfill its ministries to the Catholic faithful of the Diocese, the
                  Diocese shall seek relief through reorganization under the
                  provisions of chapter 11 of title 11 of the United States Code (11
                  U.S.C. §§ l01 et seq., the "Bankruptcy Code"); and

                          RESOLVED, that the officers and representatives of the
                   Diocese be, and they hereby are, authorized to execute and file on
                   behalf of the Diocese all petitions, schedules, lists, motions,
                   applications, pleadings and other papers or documents, necessary

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Case 2-19-20905-PRW, Doc 3, Filed 09/12/19, Entered 09/12/19 09:45:26,
                 Description: Main Document , Page 1 of 4
              to commence a case and obtain relief under the Bankruptcy Code,
              and to take any and all further acts and deeds that they deem
              necessary, proper and desirable in connection with the chapter l 1
              case of the Diocese, with a view to the successful prosecution of
              such case; and

                     RESOLVED, that the officers and representatives of the
              Diocese, including Lisa M. Passero, Chief Financial Officer, or
              such other authorized signer for the Diocese as he may designate,
              are authorized and directed to employ the law firm of Bond,
              Schoeneck & King, PLLC to represent the Diocese in such
              bankruptcy case, and take such other and further steps that may be
              necessary in furtherance of the chapter 1 I proceeding; and

                      RESOLVED that the officers and representatives of the
              Diocese be, and they hereby are, authorized and directed to employ
              any other professionals to assist the Diocese in carrying out its
              duties under the Bankruptcy Code; and in connection therewith,
              the officers and representatives of the Diocese are hereby
              authorized and directed to execute appropriate retention
              agreements, pay appropriate retainers prior to or immediately upon
              the filing of the chapter 1 l case of the Diocese, and to cause to be
              filed an appropriate application for authority to retain the services
              of any other professionals as necessary; and

                     RESOLVED,that in addition to the specific authorizations
              heretofore conferred upon them, the officers and representatives of
              the Diocese be, and hereby are, authorized and empowered, in the
              name of and on behalf of the Diocese, to take or cause to be taken
              any and all such further actions, and to execute, acknowledge,
              deliver and file any and all such agreements, certificates,
              instruments and other documents and to pay all expenses,
              including filing fees, as each officer and representative in his/her
              discretion may deem necessary or desirable in order to fully carry
              out the intent and accomplish the purpose of the resolutions
              adopted herein; and




Case 2-19-20905-PRW, Doc 3, Filed 09/12/19, Entered 09/12/19 09:45:26,
                 Description: Main Document , Page 2 of 4
                      RESOLVED, that all acts, actions, and transactions
              relating to the matters contemplated by the foregoing resolutions
              done in the name of and on behalf of the Diocese, which acts
              would have been approved by the foregoing resolutions except that
              such acts were taken before these resolutions were certified, are
              hereby in all respects approved and ratified.
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Case 2-19-20905-PRW, Doc 3, Filed 09/12/19, Entered 09/12/19 09:45:26,
                 Description: Main Document , Page 3 of 4
    Dated: September 11, 2019           ~-¢/~                  ~~~~~~2
                                                                  ~'
                                       The Most Reverend Salvatore R. Matano
                                       Bishop of Rochester




Case 2-19-20905-PRW, Doc 3, Filed 09/12/19, Entered 09/12/19 09:45:26,
                 Description: Main Document , Page 4 of 4
